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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IRON MAIDEN HOLDINGS, LTD.,
                                                    CASE NO.: 1:22-CV-00633
        PLAINTIFF,

V.
                                                    JUDGE SARA L. ELLIS
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,
                                                    MAGISTRATE JUDGE DAVID WEISMAN
        DEFENDANTS.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendants identified on Schedule A:

         Def. No.                             Defendant Store Name
            89                                      ChesterD
            93                                      HOGANF
            97                                        ktxxa
           104                                 STELRANDOLPH
            94                                       huberys
            90                                        fuirnh
            95                                      jojonn.com
            98                                       kuooerr


      Dated:     May 19, 2022                Respectfully submitted,

                                             /s/ Alison Carter
                                             Ann Marie Sullivan
                                             Alison Carter
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                                             Chicago, Illinois 60607
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                                             ATTORNEYS FOR PLAINTIFF
